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                      IN THE UMTED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DTVISION

ARTIIURCARSON                                                               PLAINTI['T.

V                                   No. 4:17cv432-BSM

  JAMCE T(NE, MANAGER EASTVIEWTERRACE APT. AND
INDEPENDENT MANAGEMENT SERVICES                DEFENDANTS

              CONSENT            ER o F'D                WITII PRIJI]DICE
       Ou this   _   day of September,2017, it is represented to the Court by PlaintiIf, Arthur

Carson, Pro Se and Defendants, Janice Tunq Manager, Eastview Terrace Apt. and Independent

Management Services, by and through coursel for Defendants, that the above cause has been

oompromised and settled, and the same should be dismissed with prejudice.

       I'f IS, TIIEREFORE, BY THE COTIRT       CONSIDERX,D, ORDERED AND ADJI'DGED

that the Complaint in the abovc styled cause be, and the same is hereby is dismissed with



       IT IS SO ORDERED.



                                           TINITED STATES DISTzuCT JI]DGE
APPROVED:

           /s/Cade L. Cox
Cade L. Cox (ABN 98067)
Cox, Sterling, McClure & Vandiver, PLLC
8712 Counts Massie Road
North Little Rock, AR 721 13
A t to r ney fo r D efe nd an t s



                 A/w{\
Arthur
5200 Colonel Glem Rd., # 219
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Little Rock, AR72204
Phintifi Pro Se
